                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE

JOHN DOE,                               )
                                        )
       Plaintiff,                       )
                                        ) Civil Action No: 3:22-cv-569
             v.                         )
                                        )
William Lee, Governor of the State      ) Judge Richardson
of Tennessee, in his official capacity, )
                                        )
Et al.                                  ) Magistrate Judge Newbern
                                        )
                                        )
       Defendants.                      )
______________________________________________________________________________

                 PLAINTIFF’S MOTION TO FILE UNDER SEAL
______________________________________________________________________________

       Comes now Plaintiff, by and through Counsel, and moves this Honorable Court pursuant

to Local Rule 5.03 and Administrative Practices and Procedures for ECF Filing § 5.07 to

authorize Plaintiff to make a sealed filing of the exhibits to his Motion to Proceed Under

Pseudonym and for a Protective Order. All three exhibits contain highly sensitive, identifying

information that, if publicly disclosed, would totally undermine Plaintiff’s motion.

       Plaintiff will disclose copies of all three exhibits to Counsels for Defendants within one

business day of those Counsels entering their appearance in this matter. Should the Court deny

this motion, Plaintiff respectfully requests that in the alternative the Court strike these exhibits

from the record so that they are not publicly accessible.




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Respectfully submitted,

s/ Kyle Mothershead
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                                CERTIFICATE OF SERVICE

I hereby certify that on August 2, 2022, Plaintiff’s Motion to File Under Seal was filed
electronically with the Court’s electronic filing system. Plaintiff will serve Defendants Lee and
Rausch on August 2, 2022 with a copy of this filing along with the Summons and Complaint,
and then serve copies of the sealed exhibits attached to this filing via email within one business
day of Defendants’ Counsels entering an appearance in this matter.

s/ Kyle Mothershead
Kyle Mothershead, BPR 22953




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